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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
                             Criminal No. 19-cr-184 (ECT/DTS)

 UNITED STATES OF AMERICA,                  )
                                            )
                             Plaintiff,     )
                                            )
               v.                           )          ORDER OF DETENTION
                                            )
 RYAN THOMAS FEINE,                         )
                                            )
                             Defendant.     )

       This matter came before the Court on July 25, 2019, for an initial appearance. The

defendant appeared in custody and was represented by Doug Olson of the Office of the Federal

Defender. The United States of America was represented by Assistant United States Attorneys

David Steinkamp. The Court advised the defendant of his constitutional rights, including the

right to consult with his appointed counsel. See Fed. R. Crim. P. 5(d). The United States moved

for detention, and the defendant waived his right to contest detention or to have a detention

hearing.

                                     FINDINGS OF FACT

       1.     The defendant is charged by indictment with two counts of production and

attempted production of child pornography, in violation of Title 18, United States Code, Sections

2251(a) and 2251(e), and one count of possession of child pornography, in violation of Title 18,

United States Code, Sections 2252(a)(4)(B) and 2252(b)(2). (Dkt. 1.) The production counts

carry a mandatory-minimum sentence of 15-years’ imprisonment with a 30-year maximum

statutory term of imprisonment. The possession count carries a 20-year maximum statutory term

of imprisonment.
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       2.     The nature and circumstances of the charges are violent and serious.          The

Indictment alleges that between February 10, 2013, and September 10, 2013, the defendant used

or attempted to use two prepubescent minor children to produce visual depictions of sexually

explicit conduct. The Indictment also alleges that the defendant knowingly possessed other

pornography depicting minors who had not yet attained twelve years of age engaging in sexually

explicit conduct.

       3.     The defendant also currently faces charges in Winona County, Minnesota, on

allegations involving criminal sexual contact with minor children.

       4.     Although the defendant is a resident of Minnesota, it appears that the defendant

currently is homeless and unemployed.

                                 CONCLUSIONS OF LAW

       1.     The production charges against the defendant create a rebuttal presumption that no

condition or combination of conditions will reasonably assure the appearance of the defendant

as required or the safety of the community. 18 U.S.C. § 3142(e)(3)(E). Moreover, each offense

alleged against the defendant in the Indictment constitutes a crime of violence. See 18 U.S.C.

§ 3156(a)(4)(C).

       2.     Based on the defendant’s waiver of detention, the serious nature of the charged

offenses, and the foregoing findings, the Court concludes by a preponderance of the evidence

that no condition or combination of conditions of release will reasonable assure the defendant’s

appearance as required at future court proceedings. Moreover, the Court finds by clear and

convincing evidence that no condition or combination of conditions of release will reasonable

assure the safety of the community. For these reasons, the Court grants the government’s motion


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for detention. See 18 U.S.C. § 3142(e)(1); United States v. Abad, 350 F.3d 793, 797 (8th Cir.

2003).

         Accordingly, based on all the files, records, and proceedings herein, IT IS HEREBY

ORDERED:

         1.    The motion of the United States for detention of the defendant without bond is

GRANTED;

         2.    The defendant is committed to the custody of the United States Attorney General

for confinement in a correctional facility separate, to the extent practicable, from persons

awaiting or serving sentences or being held in custody pending appeal;

         3.    The defendant shall be afforded reasonable opportunity to consult privately with

his lawyer; and

         4.    Upon order of the Court or on request of an attorney for the government, the person

in charge of the correctional facility in which the defendant is confined shall deliver him to a

United States marshal for the purpose of appearance in connection with a court proceeding.



Dated: July 31, 2019                              s/Steven E. Rau
                                                  STEVEN E. RAU
                                                  United States Magistrate Judge




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